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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 23-mj-00080 (MAU)
                                              :
TRICIA MONIQUE LACOUNT,                       :
                                              :
                       Defendant.             :



                                              ORDER

       Based upon the representations in the Consent Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further ORDERED that the currently

scheduled status conference on September 14, 2023, be continued for good cause to November

14, 2023 at 12:30 p.m.; and it is further

       ORDERED that the time between September 14, 2023, and November 14, 2023, shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the

parties additional time to continuing negotiating a potential pretrial resolution and the parties

additional time to review discovery.

                                                                   Digitally signed
                                                                   by Zia M. Faruqui
                                               Zia M. Faruqui Date: 2023.09.08
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Date: September 8, 2023                       ___________________________________
                                              HONORABLE ZIA M. FARUQUI
                                              United States Magistrate Judge
